Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 1 of 6
Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 2 of 6
Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 3 of 6
Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 4 of 6
Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 5 of 6
Case 1:18-bk-10820   Doc 48   Filed 02/26/19 Entered 02/26/19 12:23:35   Desc Main
                              Document     Page 6 of 6
